JS 440/SDNY
REV. 06/01/17

United Slates in September 1974, is required for use 01 the C|erk of Court for the purpose ol initiating the civil docket sheet

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Case 1:18-Cv-09282 Document 2 Filed 10/10/18 Page 1 of 2
C|VlL COVER SHEET

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the ming and service of pleadings or
other papers as required by lew. except as provided by local rules ol court. This fomi, approved by the Judicial Conlerence of the

DOAR R|ECK KALEY & MACK

A`|'I'ORNEYS (FIRM NAME. ADDRESS, AND TELEPHONE NUMBER

JOEL A. S|EGEL

217 BROADWAY, SU|TE 707, NEW YORK. NY 10007

22-233-6900

DEFENDANTS
R|CHARD GATES

ATTORNEYS (lF KNOWN)

CAUSE OF ACT|ON(C|TE THE U.S. C|VlL STATUTE UNDER WH|CH YOU ARE FlLlNG AND WR|TE A BR|EF STATEMENT OF CAUSB
(DO NOT C|TE JUR|SD|CT|ONAL STATUTES UNLESS DNERS|TY)

Diversity action under 28 USC 1332(3)(1) for money damages based on nonpayment for legal services rendered at agreed-upon rates.

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. _ _ Judge Previous|y Assigned
Has this acllon. case. or proceeding. or one essentially the same been previously liled in SDNY at any tlme? No.Yes|:|
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NOTE: You must also submit at the time of liling the Slatement of Relatedness form (Form |H-32).

Case 1:18-Cv-09282 Document 2 Filed 10/10/18 Page 2 of 2

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OF BUSINESS lN TH|S STATE

PLA|NT|FF(S) ADDRESS(ES) AND COUNTY(|ES)
217 BROADWAY

SU|TE 707

NEW YORKl NY 10007

NEW YORK COUNTY

DEFENDANT(S) ADDRESS(ES) AND COUNTY(|ES)

206 VlRGlN|A AVENUE
R|CHMOND, VA 23226

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTAT|ON |S HEREBY MADE THATl AT THIS T|ME, l HAVE BEEN UNABLE, W|TH REASONABLE D|LIGENCE. TO ASCERTA|N
THE RES|DENCE ADDRESSES OF THE FOLLOWlNG DEFENDANTS:

CCURTHOUSE ASS|GNMENT
l hereby certify that this case should be assigned to the courthouse indicated below pursuant to Loca| Rule for Division of Business 18. 20 or 21.

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Ruby J. Krajick, C|erk of Court by Deputy C|erkl DATED

UN|TED STATES D|STR|CT COURT (NEW YORK SOUTHERN)

